     Case:
       Case22-60500    Document: 00516523214
             3:21-cv-00195-DPJ-LGI  Document 106Page: 1 10/26/22
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                   United States Court of Appeals
                        for the Fifth Circuit                           United States Court of Appeals
                                                                                 Fifth Circuit

                                          ___________                          FILED
                                                                         October 26, 2022
                                           No. 22-60500                   Lyle W. Cayce
                                          ___________                          Clerk

         Abby Robinson; Ricky Robinson,

                                                                   Plaintiffs—Appellants,

                                               versus

         RiverHills Bank; John Does 1-5; John Doe Company 1-5;
         Law Security Group,

                                                   Defendants—Appellees.
                          ______________________________

                          Appeal from the United States District Court
                            for the Southern District of Mississippi
                                    USDC No. 3:21-CV-195
                          ______________________________

         CLERK’S OFFICE:
                 Under Fed. R. App. P. 42(b), the appeal is dismissed as of October
         26, 2022, pursuant to appellants’ motion.
                                                        LYLE W. CAYCE
                                                        Clerk of the United States Court
                                                        of Appeals for the Fifth Circuit



                                              By: _________________________
A True Copy                                          Whitney M. Jett, Deputy Clerk
Certified order issued Oct 26, 2022
                               ENTERED AT THE DIRECTION OF THE COURT
Clerk, U.S. Court of Appeals, Fifth Circuit
